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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ARTHUR J. GALLAGHER & CO.,                            )
                                                       )
                Plaintiff,                             ) Case No.: 1:22-cv-03931
                                                       )
        v.                                             )
                                                       ) DEMAND FOR JURY TRIAL
 ALLIANT INSURANCE SERVICES, INC.                      )
                                                       ) Hon. Martha M. Pacold
                Defendant.                             )
                                                       )

  PLAINTIFF ARTHUR J. GALLAGHER & CO.’S RESPONSE IN OPPOSITION TO
    DEBRA L. FISCHER’S MOTION FOR LEAVE TO APPEAR PRO HAC VICE

       Plaintiff Arthur J. Gallagher & Co. (“Gallagher”) respectfully submits this Response in

Opposition to Debra L. Fischer’s Motion for Leave to Appear Pro Hac Vice (Dkt. 22).

                                        INTRODUCTION

       The undersigned has never before opposed a pro hac vice application, but the facts of this

case are unique. As set forth in Gallagher’s Complaint (Dkt. 1), Alliant Insurance Services, Inc.

(“Alliant”) has been involved in litigation for years against many of its competitors who claim that

Alliant engaged in a years-long pattern of schemes to unlawfully poach employees and steal

confidential information and clients from competitors, including Gallagher. The recently unsealed

and unredacted documents from the Lockton litigation show that Alliant’s lead outside counsel

(and subject of this motion), Debra Fischer, has directed Alliant to induce contractual breaches.

More importantly, for purposes of this motion, Ms. Fischer instructed Alliant to avoid creating

documentary evidence of Alliant’s tortious conduct. And on at least one occasion, Ms. Fischer

instructed an Alliant executive to direct the destruction of evidence in anticipation of litigation.

This extraordinary conduct makes Ms. Fischer an inappropriate candidate for admission to practice

before this Court. It also makes her a key witness in this case.
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                                  FACTUAL BACKGROUND

       Gallagher’s Complaint details a years-long pattern of activity by Alliant and its co-

conspirators to tortiously interfere with competitors’ contracts and business relations and engage

in other unlawful conduct. The Complaint lists the cases about which Gallagher is aware in which

Alliant has been sued for allegedly wrongful behavior.

       Direct evidence of Alliant’s unlawful conduct came to light in Mountain W. Series of

Lockton Cos., LLC v. Alliant Ins. Servs., Inc., 2019 WL 2536104 (Del. Ch. June 20, 2019)

(“Lockton”), where a privilege waiver allowed the court—and recently, due to unredacted records

being unsealed, the public—to see the role played by certain counsel in Alliant’s conduct. Among

the most critical pieces of evidence obtained from the Lockton litigation are emails and other

documents drafted by Ms. Fischer and sent to Alliant personnel.

       In this case, Alliant denies it induced the resigning employees in Chicago to breach the 21-

day notice requirements in their employment agreements. The question of whether Alliant directs

new employees to leave their previous employer without notice, in derogation of these employees’

contractual and fiduciary obligations, is squarely at issue. Ms. Fischer’s emails confirm that

Alliant’s business strategy is to direct employees to leave without notice. More importantly for the

purposes of this motion, Ms. Fischer, an officer of the Court, actively concealed evidence of

Alliant’s plan. Specifically, Ms. Fischer told Alliant executive Reshma Dalia:

       [W]e are no longer instructing employees in writing to resign without notice
       because they may have notice provisions – Alliant will instead instruct them
       verbally….

Exhibit A. The only purpose served by not putting these instructions in writing was to avoid

creating a written record of Alliant’s instructions to the employees. The only purpose of not having

a written record of those instructions is to be able to deny—falsely—that the instructions were ever

given. The Lockton court, which had all of the necessary context, concluded that this conduct was


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improper. See Lockton, 2019 WL 2536104, at *17-18. Just as there is no plausible innocent

explanation for Ms. Fischer’s instruction not to create a written record of their conduct—and none

was forthcoming at the TRO hearing—there is no innocent explanation for the conduct. The emails

confirm that Ms. Fischer instructs Alliant to time the notice-provision breaches so that Alliant’s

new hires can solicit as many clients as possible—conduct which Alliant knows directly violates

the new hires’ contractual obligations—before a court is able to intervene. In Ms. Fischer’s words:

       Please confirm we are telling the new hires to resign on Monday morning (March
       11) as opposed to Friday afternoon (March 8). If the resignations happen Friday,
       Lockton will have all weekend to prepare litigation strategy before the new hires
       are able to bring in business.

Exhibit B (emphasis in original). Notably, before Ms. Fischer instructed Alliant to induce

violations of the Lockton employees’ notice and non-solicit obligations, she conducted a thorough

analysis of the Lockton employees’ agreements and determined that the restrictive covenants were

likely enforceable. See Exhibit C.1

       The above conduct is extraordinary, but there is more. Ms. Fischer directed Alliant

executives to participate in the destruction of evidence. After learning that evidence of Alliant’s

scheme was inadvertently sent to the Lockton email account of one of the resigning employees

(rather than his personal email account), Ms. Fischer instructed Alliant executive Peter Arkley to

tell him to “delete this and any other emails he has sent or received to/from Springer if on his

Lockton email.” Exhibit D. Ms. Fischer called this destruction of evidence “a start.” Id. And she



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  Ms. Fischer’s conduct also includes taking legal positions unsupported by law. Her conclusion
“that the restrictive covenants were likely governed by Missouri law, would be valid under
Missouri law, and were even likely to be valid under Colorado law,” did not stop Alliant, through
its counsel, from asserting the opposite position before the court. Lockton, 2019 WL 2536104, at
*10. After reviewing Ms. Fischer’s memorandum, the court noted: “Alliant appears to have
manufactured its position that the restrictive covenants are invalid under Colorado law solely for
purposes of litigation.” Id.



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instructed Arkley that both he and the Lockton employee should communicate orally rather than

in writing. Id. (instructing Arkley to “CALL McDaniel” and that “CHUCK SHOULD DEAL

WITH THIS BY TELEPHONE, NOT BY EMAIL”) (capitalization in original). Upon reviewing

these emails, the Lockton court concluded: “It now seems possible that the crime/fraud exception

to the attorney-client privilege would provide an independent basis for ordering production of at

least some of the entries on Alliant’s log.” Lockton, 2019 WL 2536104, at *10 n.6.

       The Lockton court noted numerous other issues with counsel’s conduct. Indeed, the

privilege waiver occurred in the first instance because “the serious problems with Alliant’s

[privilege] log suggested that Alliant had not made a good-faith effort when preparing its log but

instead was attempting to invoke privilege expansively to hide problematic documents.” Id. The

court also found that the “lawyer-drafted” affidavits submitted to the court were false—they “made

expansive, absolutist representations about the absence of any solicitation efforts, which discovery

revealed to be inaccurate.” Id. at *2

                                        LEGAL STANDARD

       Local Rule 83.14 of the Northern District of Illinois provides: “A member in good standing

of the bar of the highest court of any state or of any United States district court may, upon motion,

be permitted to argue or try a particular case in whole or in part” in this district. See L.R. 83.14

(emphasis added). “Admission pro hac vice is a privilege, not a right.” Royce v. Michael R. Needle

P.C., 950 F.3d 939, 954 (7th Cir. 2020) (citing Leis v. Flynt, 439 U.S. 438, 442 (1979)). A federal

district court has inherent authority “to control admission to its bar and to discipline attorneys who

appear before it.” Id. (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991)). Accordingly,

the decision to grant or deny a pro hac vice application is within this Court’s discretion. See United

States v. Ensign, 491 F.3d 1109, 1113 (9th Cir. 2007).




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          While the Seventh Circuit has not articulated a specific set of grounds for denying pro hac

vice motions, its sister circuits and other federal courts provide guidance. The Fourth Circuit has

held that a district court may deny a pro hac vice application based on the attorney’s “unlawyerlike

conduct.” Thomas v. Cassidy, 249 F.2d 91, 92 (4th Cir. 1957) (per curiam). The Sixth Circuit has

held that a court may deny pro hac vice status where “some evidence of ethical violations was

present.” D.H. Overmyer Co., Inc. v. Robson, 750 F.2d 31, 34 (6th Cir. 1984). Similarly, the Ninth

Circuit has affirmed a denial of pro hac vice admission where the district court had reasonable

concerns regarding an attorney’s “ethical fitness.” Ensign, 491 F.3d at 1115. And the Third Circuit

has stated that denial of pro hac vice admission is appropriate where the court finds the applicant

“is not presently of good moral or professional character.” In re Dreier, 258 F.2d 68, 70 (3d Cir.

1958).2

          The Court’s assessment of the attorney’s conduct and character need not be limited to the

case at bar, and instead may rely on past conduct. Kohlmayer v. Nat’l R.R. Passenger Corp., 124

F. Supp. 2d 877, 883 (D.N.J. 2000) (denying pro hac vice application where the court was “made

aware of a pattern of uncivilized behavior by an attorney, bordering on the unethical, which has

resulted in the waste of judicial time in the past”). The court may consider conduct it deems

relevant “regardless of whether formal ethical complaints have been made.”3 Id.



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 The Eleventh and Fifth Circuits have adopted a more stringent standard, holding that denial of a
pro hac vice motion is appropriate only where the attorney’s conduct rises to a level sufficient to
warrant disbarment. See Schlumberger Techs., Inc. v. Wiley, 113 F.3d 1553, 1561-62 (11th Cir.
1997); In re Evans, 524 F.2d 1004, 1007–08 (5th Cir. 1975). The Eighth Circuit, however, has
declined to adopt that high bar. See U.S. v. Gonzalez-Lopez, 399 F.3d 924, 930 n.4 (8th Cir. 2005).
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 It is worth noting that, as set forth in Gallagher’s Complaint and briefing on its TRO motion (Dkt.
9), the over-designation of non-privileged documents and the submission of lawyer-drafted
affidavits that are later proven false are both practices that Alliant and its counsel continue to this
day.



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                                             ARGUMENT

       Ms. Fischer’s pro hac vice application should be denied. The documents unsealed in the

Lockton litigation evidence conduct that shocks the conscience and clearly violates the ethical

standards of this Court, which are principally set forth in the Model Rules of Professional Conduct

adopted by the American Bar Association (“Model Rules”). See L.R. 83.50.

       By instructing Alliant to induce contractual breaches and to do so verbally rather than in

writing so as to conceal the unlawful conduct, Ms. Fischer committed numerous ethical violations.

Counseling a client about how to conceal tortious conduct violates various provisions of Model

Rule 8.4, including at least 8.4(a) (violating the Rules of Professional Conduct); 8.4(c) (engaging

in conduct involving dishonesty, fraud, deceit, or misrepresentation); and 8.4(d) (engaging in

conduct that is prejudicial to the administration of justice). As the Lockton court recognized in

stating that it was “possible that the crime/fraud exception to the attorney-client privilege would”

apply to Ms. Fischer’s communications, see Lockton, 2019 WL 2536104, at *10 n.6, Ms. Fischer’s

conduct also likely violates Model Rule 1.2(d) (“A lawyer shall not counsel a client to engage, or

assist a client, in conduct that the lawyer knows is criminal or fraudulent….”).

       Ms. Fischer’s directive to destroy evidence also violates a host of ethical rules. In addition

to Model Rules 8.4 and 1.2 noted above, Model Rule 3.4(a) explicitly provides that a lawyer shall

not “unlawfully obstruct another party’s access to evidence or unlawfully alter, destroy or conceal

a document or other material having potential evidentiary value. A lawyer shall not counsel or

assist another person to do any such act.”

       Likewise, the use of overly broad privilege logs to hide problematic documents, the

submission of false affidavits to a court, and the assertion of legal arguments the lawyer does not

believe to be supported by the law, all implicate numerous ethical rules, including but not limited




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to Model Rule 3.3 (requiring candor to the court) and Model Rule 3.4 (requiring fairness to the

opposing party and counsel).

       The conduct in question does not depend upon the veracity of witnesses or any inference.

The conduct is in black and white for the Court to see. It is revealing that Alliant did not attempt

to provide any innocent explanation for that conduct in its lengthy written response or its oral

argument to the Court. Given the writings, that is unsurprising.

       Finally, Ms. Fischer is a necessary witness in this case. Gallagher already has evidence

consistent with the conduct displayed in Lockton. There was uniform violation of the 21-day notice

requirement—something Ms. Fischer directed be done in Lockton. There were simultaneous,

obviously orchestrated resignations of multiple Gallagher employees—something Ms. Fischer

directed be done in Lockton. Gallagher is entitled to know the role Ms. Fischer played in those

actions here. If Ms. Fischer’s admonitions not to put anything in writing were followed here,

Gallagher will need to take testimony about the genesis of the unlawful acts alleged, including

from Ms. Fischer. Accordingly, she is expected to testify both in deposition and at trial. At

minimum, this bars Ms. Fischer’s participation in trial. See Model Rule 3.7(a) (“A lawyer shall not

act as advocate at a trial in which the lawyer is likely to be a necessary witness….”).

                                         CONCLUSION

       WHEREFORE, for the foregoing reasons, Gallagher respectfully requests that the Court

enter an Order denying Debra L. Fischer’s Motion for Leave to Appear Pro Hac Vice.




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DATED:     August 12, 2022          Respectfully submitted,

                                    /s/ Ronald S. Safer__________________
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2022, I filed a copy of the foregoing document using

the Court’s CM/ECF filing system, which will automatically send notice of the filing to all counsel

of record.

                                             /s/ Eli J. Litoff




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